         Case 1:22-cv-00137-JCG Document 23                Filed 08/18/22     Page 1 of 7




           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE JUDGE JENNIFER CHOE-GROVES
 __________________________________________
                                            )
 NUCOR CORPORATION,                         )
                                            )
                   Plaintiff,               )
                                            )
       v.                                   )
                                            )
 UNITED STATES,                             )
                                            ) Court No. 22-00137
                   Defendant,               )
                                            )
       and                                  )
                                            )
 GOVERNMENT OF THE REPUBLIC OF              )
 KOREA,                                     )
                                            )
                    Defendant-Intervenor.   )
 __________________________________________)


      DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION TO STAY

       Pursuant to Rule 7 of the Rules of the United States Court of International Trade,

defendant, the United States, respectfully submits this opposition to the motion to stay

proceedings filed by plaintiff Nucor Corporation (Nucor) (ECF No. 21) (Nucor Mot.). In this

action, Nucor challenges the final results of the United States Department of Commerce

(Commerce) in the 2019 administrative review of the countervailing duty order covering Certain

Cold-Rolled Steel Flat Products from the Republic of Korea, 87 Fed. Reg. 20,821 (Dep’t of

Commerce Apr. 8, 2022) (final results), P.R. 202, corrected by Certain Cold-Rolled Steel Flat

Products from the Republic of Korea, 87 Fed. Reg. 24,095 (Dep’t of Commerce Apr. 22, 2022),

P.R. 203, and accompanying Issues and Decision Memorandum. Nucor seeks a stay pending the

final resolution of a separate action arising from the administrative review of a different
         Case 1:22-cv-00137-JCG Document 23                Filed 08/18/22     Page 2 of 7




countervailing duty order, Certain Corrosion-Resistant Steel Products from the Republic of

Korea, 87 Fed. Reg. 2,759 (Dep’t of Commerce Jan. 19, 2022), which has been challenged in

Nucor Corp v. United States, No. 22-00050 (Ct. Int’l Trade, filed Mar. 9, 2022) (Nucor I).

        The Court should deny Nucor’s motion. Although both cases concern a determination

regarding whether the government of Korea provided electricity for less-than-adequate

remuneration, Nucor has not shown that a stay would facilitate an efficient resolution of the case

or conserve the parties’ and the Court’s resources. Nor has Nucor shown that any duplication of

effort outweighs the detrimental effects of a stay.

                                          ARGUMENT

   I.      Standard Of Review

        “[The] power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Apex Exps. v. United States, 36 C.I.T. 1144, 1146 (2012) (citing

Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). In deciding such a motion, the Court “must

weigh and maintain an even balance between competing interest{s} when deciding whether a

stay is appropriate,” including judicial economy, efficiency, and parties’ resources. Nexteel Co.,

Ltd. v. United States, 556 F. Supp. 3d 1376, 1378 (Ct. Int’l Trade 2022); Cherokee Nation v.

United States, 124 F.3d 1413, 1416 (Fed. Cir. 1997).

        As the movant, Nucor bears the burden of establishing its need for a stay. Landis, 299

U.S. at 255. In doing so, Nucor must do more than offer a generalized statement that the

proposed stay would result in no harm or prejudice. Columbia Forest Prod. v. United States, 352

F. Supp. 3d 1274, 1276 (Ct. Int’l Trade 2018).




                                                 2
          Case 1:22-cv-00137-JCG Document 23               Filed 08/18/22     Page 3 of 7




         Further, extensive stays, such as the one Nucor seeks here, are disfavored, and require the

movant to show a “pressing need” for a protracted stay that is “immoderate or indefinite.”

Cherokee Nation, 124 F.3d at 1416; accord LG Elecs. Inc. v. United States Int’l Trade Comm’n,

37 C.I.T. 1589, 1593 (2013) (denying motion to stay in part due to proposed stay’s duration).

Also, “if there is even a fair possibility that the stay for which {Nucor} prays will work damage

to someone else,” Nucor must show “a clear case of hardship or inequity in being required to go

forward.” Landis, 299 U.S. at 255. Finally, “stays pending an appeal or other judicial

proceeding are an extraordinary and disfavored measure.” Hyundai Elecs. Co., v. United States,

53 F. Supp. 2d 1334, 1336 n.2 (Ct. Int’l Trade 1999) (quotation omitted). This is because “some

harm is inherent in any denial of the right to proceed” because “parties have an interest to

quickly resolve the dispute before the court.” Neenah Foundry Co. v. United States, 24 C.I.T.

202, 205 (2000).

   II.      Nucor Has Not Met Its Burden Of Establishing A Stay Is Appropriate
            t
         This Court should deny Nucor’s motion to stay this case pending the outcome of Nucor I.

Although the two cases may share common legal issues, “each administrative review is a

separate segment” of a proceeding with “its own unique facts,” Peer Bearing Co. v. United

States, 587 F. Supp. 2d 1319 (Ct. Int’l Trade 2008), and the Court’s review of Commerce’s

determination is limited to the underlying administrative record, 19 U.S.C. § 1516a(a)(2); 28

U.S.C. § 2635(b)(1).

         In Nucor I, Nucor has challenged the same issue that is challenged in this proceeding,

Commerce’s determination regarding the government of Korea’s alleged provision of electricity

for less-than-adequate remuneration. This is a frequently reoccurring issue in Korean steel

countervailing duty administrative reviews and may be presented in new cases that have not been



                                                  3
         Case 1:22-cv-00137-JCG Document 23                 Filed 08/18/22     Page 4 of 7




filed. But this does not warrant staying the current proceeding. Recently, for example, the Court

denied a virtually identical motion for a stay in Nucor Corp. v. United States, No. 22-70, which

involves the 2019 administrative review of the countervailing duty order covering cut-to-length

carbon-quality steel plate from the Republic of Korea. Order, Nucor Corp. v. United States, No.

22-0070 (Ct. Int’l Trade July 5, 2022), ECF No. 28.

       Absent an appeal that could result in controlling precedent, staying this case pending

Nucor I would not meaningfully promote judicial efficiency. This Court is not bound by any

other decision from this Court or even its own decisions. Algoma Steel Corp. v. United States,

865 F.2d 240, 243 (Fed. Cir. 1989). Thus, it is not an efficient use of resources to stay every

case presenting a similar issue without knowing when (if ever) the Federal Circuit will issue a

dispositive precedential opinion. Here, a stay would conserve only limited resources. If the

issue presented in this case is truly identical to the one presented in Nucor I, as plaintiff contends

(Nucor Mot. at 4), the parties can easily raise identical arguments and, if the Court agrees with

the decision in Nucor I, the Court can issue an identical opinion.

       Nor does Nucor’s speculation that Nucor I may be appealed to the Federal Circuit

currently warrant an indefinite stay. Bldg. Sys. De Mexico S.A de C.V. v. United States, 463

F.Supp.3d 1344, 1348 (Ct. Int’l Trade 2020) (explaining that “speculative claims regarding the

possible impact of a future decision on the disposition of the case at bar do not suffice to warrant

a stay”). Aside from any appeal being hypothetical, the timing of such an appeal would depend

on various factors, such as the number and duration of any remands. Without knowing when the

issue may be resolved by the Federal Circuit, if ever, the proposed stay results in an extensive

and unnecessary delay of the proceeding, a course disfavored by courts, when no pressing need

for such a stay has been identified. Hyundai, 53 F. Supp. 2d at 1336 n.2.



                                                  4
         Case 1:22-cv-00137-JCG Document 23                Filed 08/18/22     Page 5 of 7




       Nucor’s general statement that the proposed stay would not result in any harm or

prejudice to other parties falls short of demonstrating the pressing need for the stay and, in any

event, is incorrect. Columbia Forest Prod., 352 F. Supp. 3d at 1276. Despite Nucor’s assertions

otherwise, the proposed stay presents a fair possibility of prejudice for the United States. Some

harm is posed by any delay of litigation. LG Elecs., Inc. v. ITC, 37 C.I.T. 1589, 1591-92 (2013).

For example, during the indefinite stay, the memories of agency personnel and other interested

parties will fade. Id. New personnel may replace the agency employees with knowledge of the

case and the stagnant case will remain dormant on the Court’s docket. Experienced and

knowledgeable personnel are critical — and indeed the most important — Commerce resources.

Thus, Nucor is incorrect in asserting that a stay would not result in any harm or prejudice.

                                         CONCLUSION

       For these reasons, we respectfully request that the Court deny Nucor’s motion to stay.


                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      PATRICIA M. MCCARTHY
                                                      Director

                                                      /s/ L. Misha Preheim
                                                      L. MISHA PREHEIM
                                                      Assistant Director




                                                 5
        Case 1:22-cv-00137-JCG Document 23    Filed 08/18/22   Page 6 of 7




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August 18, 2022                           Attorneys for Defendant




                                      6
         Case 1:22-cv-00137-JCG Document 23                Filed 08/18/22     Page 7 of 7




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        BEFORE: THE HONORABLE JUDGE JENNIFER CHOE-GROVES
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  NUCOR CORPORATION,                         )
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                    Plaintiff,               )
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        v.                                   )
                                             )
  UNITED STATES,                             )
                                             ) Court No. 22-00137
                    Defendant,               )
                                             )
        and                                  )
                                             )
  GOVERNMENT OF THE REPUBLIC OF              )
  KOREA,                                     )
                                             )
                     Defendant-Intervenors.  )
  __________________________________________)


                                             ORDER

       Upon consideration of the motion to stay filed by Nucor Corporation, as well as

defendant’s response in opposition thereto, and all other pertinent papers, it is hereby

       ORDERED that the motion is DENIED.



 DATED: ___________________, 2022
        New York, New York                                               JUDGE




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